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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

Chantel Coleman,                    )
                                    )
            Plaintiff,              )
                                    )
      vs.                           ) Case No.:1:17-cv-3034-WTL-TAB
                                    )
NCC Business Services, Inc.,        )
                                    )
            Defendant.              )
____________________________________)_________________________________________

                        ORDER OF DISMISSAL WITH PREJUDICE

         Pursuant to Plaintiff’s Motion to Dismiss with Prejudice filed by the Plaintiff in this

cause, this cause is hereby dismissed with prejudice, and each party shall bear its own respective

costs and expenses, including but not limited to attorneys’ fees, incurred in connection with this

cause.



                                           _______________________________
                                            Hon. William T. Lawrence, Judge
Date:11/3/17                                        _______________________________
                                            United States District Court
                                            SouthernJudge
                                                     District of Indiana
                                                    United States District Court
                                                    Southern District of Indiana


ECF notification:

Copies to electronically registered counsel of record.
